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                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS



Air Products and Chemicals, Inc., et al.
Plaintiff
v.                                                             2:23-cv-147
                                                               Civil Action No.
General Services Administration, et al.
Defendant

       CERTIFICATE OF INTERESTED PERSONS',6&/2685(67$7(0(17
                               (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,

Plaintiffs Air Products and Chemicals, Inc., and Air Products LLC



provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.

Air Products and Chemicals, Inc. has no parent corporation. No publicly held corporation owns
10 percent or more of its stock.
Air Products LLC is a wholly owned subsidiary of Air Products and Chemicals, Inc. No
publicly held corporation owns 10 percent or more of its stock.

        A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.

 Air Products and Chemicals, Inc., and Air Products LLC. Further, Air Products and Chemicals,
 Inc. has numerous direct and indirect subsidiaries, none of which is publicly traded. For
 reference, attached is a true and correct copy of a list of majority- or wholly-owned subsidiaries,
 as filed with the Securities and Exchange Commission and available at
 https://www.sec.gov/Archives/edgar/data/2969/000000296922000054/apd-exhibit211x30sep22.
 htm.
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                                                              Date:                 09/07/2023
                                                              Signature:            /s/ Andrew LeGrand
                                                              Print Name:
                                                                                    Andrew LeGrand
                                                              Bar Number:           24070132
                                                              Address:              2001 Ross Avenue, Suite 2100
                                                              City, State, Zip:     Dallas, TX 75201
                                                              Telephone:            (214) 698-3405
                                                              Fax:                  (214) 571-2960
                                                              E-Mail:               ALeGrand@gibsondunn.com




NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil !Other
Documents !Certificate of Interested Persons'LVFORVXUH6WDWHPHQW
9/5/23, 11:16 AM                                                              Document
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  EX-21.1 4 apd-exhibit211x30sep22.htm EXHIBIT 21.1




                                                                                                                   Exhibit 21.1

                                             Subsidiaries of Air Products and Chemicals, Inc.

                                                              UNITED STATES

  All companies are incorporated in the State of Delaware unless otherwise indicated.

  Registrant -- Air Products and Chemicals, Inc.

       7001 Hamilton Properties, LLC
       Air Products Advanced Materials LLC
       Air Products Ammonia Distribution, LLC
       Air Products Ammonia Holdings, LLC
       Air Products and Chemicals, Inc.
       Air Products and Chemicals, Inc. of Utah (Utah)
       Air Products Asia, Inc.
       Air Products Blue Energy LLC
       Air Products Caribbean Holdings, Inc.
       Air Products China, Inc.
       Air Products Helium, Inc.
       Air Products Hydrogen Company, Inc.
       Air Products Industrial Gas LLC
       Air Products International, LLC
       Air Products Investments Holdings, LLC
       Air Products Investments, LLC
       Air Products LLC
       Air Products Manufacturing Corporation
       Air Products Manufacturing LLC
       Air Products West Coast Hydrogen LLC
       APCI (U.K.), Inc.
       APMTG Helium LLC
       East Coast Nitrogen Company LLC
       East Coast Oxygen Co.
       EPCO Carbondioxide Products, Inc. (Illinois)
       Felix 4, LLC
       Felix Holding Company II, LLC
       Gardner Cryogenics, Inc. (Pennsylvania)
       Harvest Energy Technology, Inc. (California)
       Indura Holdings Colombia, LLC
       Olin - DNT Limited Partnership
       Permea, Inc.
       ProCal (California)
       Prodair Corporation
       SCWC Corp.
       Stravinsky Investments LLC
       The Former SR Manufacturers Inc. (Colorado)


                                                                  ALGERIA

       Helios S.p.A.
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                                                                ARGENTINA

       Indura Argentina S.A.

                                                                  AUSTRIA

       Air Products Gesellschaft mbH



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                                                                  BAHRAIN

       Air Products Bahrain W.L.L
       Middle East Carbon Dioxide W.L.L. (MECD)

                                                                  BELGIUM

       ACP Zolder Invest NV
       Air Products Management BV/SRL
       Air Products S.A.
       Napro S.A.

                                                                 BERMUDA

       Asia Industrial Gas Company Ltd.

                                                                   BRAZIL

       Air Products Brasil Ltda.

                                                                  CANADA

       Air Products Canada Ltd./Prodair Canada Ltee
       Air Products Ammonia Distribution Ltd.

                                                                    CHILE

       AP Services South America SpA
       Centro Técnico Indura Limitada
       Indura Inversiones Limitada
       Indura S.A.
       Indura Sociedad Comercial Limitada
       Inversiones Air Products Holdings Limitada
       Oxigeno Medicinal Domiciliario Limitada
       Servicios Indura Limitada

                                                                    CHINA




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       Air Products (Anshan) Gases Company Limited
                                                                                             Page 6 of 17 PageID 297
       Air Products (Beijing) Hydrogen Energy Technology Co., Ltd.
       Air Products (Cangzhou) Co., Ltd.
       Air Products (Changsha) Co., Ltd.
       Air Products (Chongqing) Chem-Materials Co., Ltd.
       Air Products (Dongguan) Gases Co., Ltd.
       Air Products (Guangzhou) Electronics Gases Co., Ltd.
       Air Products (Hangjin Qi) Co., Ltd.
       Air Products (Hefei) Electronics Gases Co., Ltd
       Air Products (Hong Kong) Co., Ltd.
       Air Products (Huaian) Gases Co., Ltd
       Air Products (Huaibei) Gases Co., Ltd.
       Air Products (Inner Mongolia) Hydrogen Energy Technology Co., Ltd.
       Air Products (Jiangxi) Co., Ltd.
       Air Products (Jiangxi) Co., Ltd. Jiujiang Branch
       Air Products (Jincheng) Co., Ltd.
       Air Products (Jinjiang) Electronics Gases Co., Ltd.
       Air Products (Kunshan) Gases Co., Ltd, FuChunjiang Road Branch
       Air Products (Kunshan) Gases Co., Ltd.
       Air Products (Linfen) Co., Ltd.
       Air Products (Nanjing) Electronics Gases Co., Ltd
       Air Products (Ningbo) Hi-Tech Gases Co., Ltd.




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       Air Products (Qingdao) Gases Co., Ltd.
                                                                                             Page 8 of 17 PageID 299
       Air Products (Shandong) Engineering Co., Ltd.
       Air Products (Shandong) Engineering Co., Ltd. Nanjing Branch
       Air Products (Shanxi) Co., Ltd.
       Air Products (Shenyang) Gases Co., Ltd.
       Air Products (Tianjin) Co., Ltd.
       Air Products (Wuhan) Gases Co., Ltd.
       Air Products (Xia'men) Electronics Gases Co., Ltd.
       Air Products (Xi'an) Gases Co., Ltd
       Air Products (Zhongshan) Gases Co., Ltd.
       Air Products (Zhumadian) Gases Co., Ltd.
       Air Products and Chemicals (Anhui) Co., Ltd.
       Air Products and Chemicals (Banan) Gases Co., Ltd
       Air Products and Chemicals (Beijing) Distribution Co., Ltd.
       Air Products and Chemicals (Binzhou) Co., Ltd.
       Air Products and Chemicals (Chengdu) Co., Ltd.
       Air Products and Chemicals (Chengdu) Co., Ltd. Qingbaijiang Branch
       Air Products and Chemicals (China) Investment Co., Ltd.
       Air Products and Chemicals (China) Investment Co., Ltd. Xi'an Branch
       Air Products and Chemicals (Chongqing) Co., Ltd, Chang Shou Branch
       Air Products and Chemicals (Chongqing) Co., Ltd.
       Air Products and Chemicals (Dalian) Co., Ltd.
       Air Products and Chemicals (Guangzhou) Co., Ltd.
       Air Products and Chemicals (Guiyang) Co., Ltd.
       Air Products and Chemicals (Hefei) Co., Ltd.
       Air Products and Chemicals (Hohhot) Co., Ltd.
       Air Products and Chemicals (Lianyungang) Gases Co., Ltd.
       Air Products and Chemicals (Nanjing) Co., Ltd.
       Air Products and Chemicals (Nanjing) Gases Co., Ltd.
       Air Products and Chemicals (Pengzhou) Co., Ltd.
       Air Products and Chemicals (Putian) Co., Ltd.
       Air Products and Chemicals (Qingdao) Co., Ltd.
       Air Products and Chemicals (Shaanxi Pucheng) Co., Ltd.
       Air Products and Chemicals (Shaanxi) Co., Ltd.
       Air Products and Chemicals (Shanghai) Co., Ltd.
       Air Products and Chemicals (Shanghai) Electronics Gases Co., Ltd.
       Air Products and Chemicals (Shanghai) Gases Co., Ltd.
       Air Products and Chemicals (Shanghai) Gases Production Co., Ltd.
       Air Products and Chemicals (Shanghai) Gasification Technology Co., Ltd.
       Air Products and Chemicals (Shanghai) Hydrogen Energy Technology Co., Ltd.
       Air Products and Chemicals (Shanghai) On-Site Gases Co., Ltd.
       Air Products and Chemicals (Shanghai) Systems Co. Ltd.
       Air Products and Chemicals (Shangluo) Co., Ltd.
       Air Products and Chemicals (Shenzhen) Co., Ltd.
       Air Products and Chemicals (Shenzhen) Gases Co., Ltd.
       Air Products and Chemicals (Shenzhen) Gases Co., Ltd. Guangming Branch
       Air Products and Chemicals (Tangshan) Co., Ltd.
       Air Products and Chemicals (Tianjin) Co., Ltd.
       Air Products and Chemicals (Tongxiang) Co., Ltd.
       Air Products and Chemicals (Weifang) Co., Ltd.
       Air Products and Chemicals (Wuxi) Co., Ltd.
       Air Products and Chemicals (WuXi) Gases Co., Ltd.
       Air Products and Chemicals (Xi'an) Co., Ltd.
       Air Products and Chemicals (Xingtai) Co., Ltd.
       Air Products and Chemicals (Xinxiang) Co., Ltd.


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       Air Products and Chemicals (Xuzhou) Co., Ltd.
       Air Products and Chemicals (Yichun) Co., Ltd.
       Air Products and Chemicals (Yulin) Co., Ltd.
       Air Products and Chemicals (Zhangjiagang) Co., Ltd.
       Air Products and Chemicals (Zhejiang) Co., Ltd.
       Air Products and Chemicals (Zhejiang) Co., Ltd. Hangzhou Branch
       Air Products and Chemicals (Zhuhai) Co., Ltd.
       Air Products and Chemicals (Zibo) Co., Ltd.
       Air Products and Chemicals Tech Development (Beijing) Co., Ltd.
       Air products and Chemicals(Shenzhen) Co.,Ltd. Longhua Branch
       Air Products Debang (Lianyungang) Co., Ltd.
       Air Products Huadong (Longkou) Co., Ltd.
       Air Products Hydrogen Energy Technology (Zibo) Co., Ltd.
       Air Products Jiutai (Inner Mongolia) Hydrogen Technology Co., Ltd.
       Air Products Logistics (Zhejiang) Co., Ltd.
       Air Products Lu'An (Changzhi) Co., Ltd.
       Air Products SinoHytec (Beijing) Hydrogen Energy Technology Co., Ltd.
       Beijing AP BAIF Gases Industry Co., Ltd.
       Chengdu Air & Gas Products Ltd.
       Chengzhi Air Products Hydrogen Energy Technology Co., Ltd.,
       CNOOC Air Products and Chemicals (Fujian) Co., Ltd.
       New Energy Air Products (Liaoning) Co., Ltd.
       Permea China, Ltd.
       WuXi Hi-Tech Gas Co., Ltd.


                                                                 COLOMBIA

       Gases Industriales de Colombia S.A. – Cryogas

                                                             CZECH REPUBLIC

       Air Products spol s.r.o.

                                                                  ECUADOR

       Air Products Ecuador S.A.

                                                                   EGYPT

       Air Products Gases S.A.E.

                                                                   FRANCE

       Air Products SAS
       Helap SAS
       Lida SAS
       Prodair et Cie S.C.S.
       Prodair S.A.S.
       Soprogaz SNC

                                                                 GERMANY

       Air Products Ammonia Distribution AD GmbH
       Air Products GmbH
       Air Products Holdings GmbH

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                                                                    INDIA

       Prodair Air Products India Private Limited
       INOX Air Products Pvt. Ltd.



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                                                                 INDONESIA

       PT Air Products Indonesia
       PT Air Products Indonesia Services
       PT Air Products East Kalimantan

                                                                  IRELAND

       Air Products Ireland Limited

                                                                   ISRAEL

       Air Products Israel Ltd.
       Gastel Limited
       Gas Technologies, Ltd.
       Oxygen & Argon Works, Ltd.
       STS Science, Technologies and Services Ltd.

                                                                    ITALY

       Air Products Italia S.r.l.
       Sapio Produzione Idrogeno Ossigeno S.r.l.

                                                                    JAPAN

       Air Products Japan K.K.

                                                                   KOREA

       Air Products Korea Inc.
       Korea Industrial Gases, Ltd.

                                                               LUXEMBOURG

       ACP Europe SA

                                                                 MALAYSIA

       Air Products Malaysia Sdn Bhd
       Air Products Shared Services Sdn. Bhd
       Air Products Specialized Process Equipment SDN
       Kulim Industrial Gases Sdn Bhd

                                                                   MEXICO

       Air Products and Chemicals de Mexico, S.A. de C.V.
       Gazsur, S. de R.L. de C. V.
       Grupo INFRA

                                                                 MOROCCO

       Air Products Maghreb S.A.R.L.

                                                            THE NETHERLANDS

       Air Products Gases Holdings B.V.
       Air Products Holdings B.V.

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             Case Investments
       Air Products 2:23-cv-00147-Z-BR
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       Air Products Leasing B.V.
       Air Products Nederland B.V.
       Air Products Netherlands Gases B.V.
       Carbolim B.V.
       KRIG Holdings B.V.




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                                                                   NIGERIA

       Prodair Escravos Limited

                                                                  NORWAY

       Air Products A/S

                                                                    OMAN

       Air Products Majan LLC
       AJWAA Gases LLC

                                                                    PERU

       Air Products Peru S.A.

                                                                  POLAND

       Air Products Sp. Z o.o.
       Euro-Hel Sp. Z.o.o.
       STP & DIN Chemicals Sp. Z.o.o.

                                                                 PORTUGAL

       Gasin II Unipessoal LDA
       Sociedade Portuguesa de Oxigenio, Lda.

                                                                   QATAR

       Air Products Helium Inc. Qatar Branch

                                                                  ROMANIA

       Euro-Hel Romania SRL

                                                               SAUDI ARABIA

       Abdulla Hashim Gases & Equipment Co. Limited
       Air Products Middle East Industrial Gases Company Limited
       Air Products PLC Branch
       Air Products Qudra (GICIS)
       Air Products Saudi Investment Company
       Gases Integrated Company Limited (GIC)
       Jazan Gas Projects Company
       Jazan Integrated Gasification and Power Company (JIGPC)
       Jubail Waves for Gases Company
       NEOM Green Hydrogen Company

                                                                SINGAPORE

       Air Products Singapore Industrial Gases Pte. Ltd.

                                                                 SLOVAKIA

       Air Products Slovakia s.r.o.

                                                               SOUTH AFRICA

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       Air Products South Africa (Proprietary) Limited

                                                                    SPAIN

       Air Products Iberica, S.L.
       Air Products Services Europe, S.A.



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       Andaluza de Gases, S.A.
       Carb-IQA de Tarragona, S.L.
       Carburos Via Augusta Logistics, S.L.
       Iberica del Carbonico, S.A.
       Matgas 2000 A.I.E.
       Oxigeno de Sagunto, S.L.
       Sociedad Espanola de Carburos Metalicos S.A.
       Vitalox Industrial S.L.U.

                                                               SWITZERLAND

       Air Products Switzerland Sàrl

                                                               TAIWAN, CHINA

       Air Products San Fu Co., Ltd.
       Air Products Taiwan Holdings Co., Ltd.

                                                                 THAILAND

       Bangkok Industrial Gas Co., Ltd.
       Bangkok Cogeneration Company Limited

                                                          TRINIDAD AND TOBAGO

       Caribbean Industrial Gases Unlimited



                                                                  UKRAINE

       Air Products Ukraina LLC
       KRYVYI RIH Industrial Gas
       PQ Ammonia

                                                         UNITED ARAB EMIRATES

       AJWAA Emirates Gases Company LLC
       Air Products Arabia for Industrial Gases LLC
       Air Products (Middle East) FZE
       Air Products Emirates Gases LLC
       Air Products Gulf Gas LLC
       Alemir Jebil Ali FTZ (Branch)
       Alemir Sharjah FTZ (Branch)
       German Industrial Gases (FZE) in Saif Zone
       ORCA Industrial Gases LLC

                                                             UNITED KINGDOM

       Air Products (BR) Limited
       Air Products Equipment Limited
       Air Products Group Limited
       Air Products Llanwern Limited
       Air Products PLC
       Air Products Renewable Energy Limited
       Beer Gas Cymru Cyf
       Cryoservice Limited
       Gas Direct Cymru Cyf
       Dixons of Westerhope Limited
       Gas Direct Limited
       M&M Gases Limited

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       Air Products Central Asia Group LLC
       Markaziy Osiyo Sanoat Gaz LLC



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